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CHP Sgt. Richard Henderson

Page 1 of 6

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

 

L.S. individually and as Successor-in
Interest to Decedent ERIK SALGADO by
and through her guardian ad litem Michael
Colombo; BRIANNA COLOMBO and
FELINA RAMIREZ, Mother of decedent,

Plaintiff,

RICHARD HENDERSON, individually;
‘DOES 2-25, inclusive,

Defendants.

 

 

Defendant CHP Sargent Richard Henderson in response to the First Amended Complaint

Case No. 3:20-cv-04637-TSH

ANSWER TO FIRST AMENDED
COMPLAINT

DEMAND FOR JURY TRIAL
[Fed. R. Civ. Proc. 38(B)]

(Complaint) on file admits, denies, and alleges as follows:

, Answering “Introduction” at page 2, lines 16 to 22, Defendant asserts such

paragraph is not operable in this Complaint, highly irrelevant and prejudicial to the administration

of justice in this lawsuit, and should be stricken. The remainder of the “Introduction” is denied.

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Answer to First Amended Complaint; Demand for Jury Trial (Case No.: 3:20-cv-04637-TSH)

 
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Ds Answering paragraph 1 of the Complaint, defendant admits that the events that are
the subject of the Complaint occurred in Oakland, California and that this Court has jurisdiction
over the claims alleged. Defendant denies the remainder of the allegations of paragraph 1.

3. Answering paragraph 6 of the Complaint, Defendant admits.

4. Answering paragraphs 8-12, 14, 19-28, and the entire Prayer for relief answering
Defendant denies each and every allegation of said paragraphs of the Complaint.

=. Answering paragraphs 2, 3, 4, 5, 7, 13, 18 of the Complaint, Defendant lacks
information or knowledge as to the validity of such allegations and therefore denies them.

6. Paragraph 29 of the Complaint does not contain any allegation of facts, and
therefore Defendant can neither admit or deny the content of said paragraph.

AS SEPARATE AND AFFIRMATIVE DEFENSES, answering Defendant alleges as
follows:

AFFIRMATIVE DEFENSE NO. 1:

The complaint and each cause of action therein fail to allege facts sufficient to state a claim
for punitive damages. (Gov. Code, § 818; Civ. Code, § 3294.)

AFFIRMATIVE DEFENSE NO. 2:

Any award for punitive damages would violate the Constitutions of the United States and of
the State of California in that: (1) it amounts to double jeopardy (5th Amendment); (2) the criteria
are vague and not sufficiently specific to know what conduct will subject to it; (3) violates due
process clauses of the Constitutions of the United States and the State of California for vagueness
and no objective standard for limitation; (4) Defendant would be required to testify against
himself (Sth Amendment); (5) Defendant would be deprived of equal protection under the Fifth
and Fourteenth Amendments in that such award is based in part on economic status, without a
rational basis and on an arbitrary classification; and, (7) amount to excessive fines (8th
Amendment).

AFFIRMATIVE DEFENSE NO. 3:

The amount of any damages should be abated, apportioned and reduced to the extent

negligence of any other person or entity caused or contributed to damages.

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Answer to First Amended Complaint; Demand for Jury Trial (Case No.: 3:20-cv-04637-TSH)

 

 
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AFFIRMATIVE DEFENSE NO. 4:

 

Decedent and Plaintiff Colombo voluntarily and knowingly assumed all the risks and
hazards involved in the activities alleged in the complaint.

AFFIRMATIVE DEFENSE NO. 5:

All alleged events, damages and injuries were proximately caused and contributed to by the
negligence of plaintiffs, decedent, and others, each and all of whom failed to exercise ordinary
care at the times and places alleged in the complaint.

AFFIRMATIVE DEFENSE NO. 6:

_ Defendant was acting within the course and scope of duty of public employment.

AFFIRMATIVE DEFENSE NO. 7:

Plaintiffs’ claims are subject to the statutory limitation of Civil Code section 1431, ef seq.,
relating to joint and several liability for economic and noneconomic damages.

AFFIRMATIVE DEFENSE NO. 8:

Plaintiffs failed to mitigate injury and damages.

AFFIRMATIVE DEFENSE NO. 9:

To the extent Defendant used force, it was privileged as reasonably necessary, and was
believed to be reasonably necessary, in the lawful defense of himself, other officers, and/or third
parties on the scene.

| AFFIRMATIVE DEFENSE NO. 10:

All actions taken were in response to an emergency situation.

AFFIRMATIVE DEFENSE NO. 11:

At the times and places alleged in the complaint, Decedent, with control over Plaintiff
Colombo, willfully and unlawfully used force and violence upon the person of another and
provoked the altercation and events alleged in the complaint by unlawful and wrongful conduct.
The force employed, to prevent the continuance of such conduct was reasonable and not
excessive.

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Answer to First Amended Complaint; Demand for Jury Trial (Case No.: 3:20-cv-04637-TSH)

 
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AFFIRMATIVE DEFENSE NO. 12:

To the extent allegations of the complaint attempt to enlarge upon the facts and contentions
set forth in the California Government Claims Program claim, it fails to state a cause of action
and is barred by Government Code sections 905.2, 911.2 and 950.2.

AFFIRMATIVE DEFENSE NO. 13

The detention or arrest alleged in the complaint was regular and lawful and made in good
faith by peace officers acting within the course and scope of authority and with reasonable cause
to believe such action was lawful.

AFFIRMATIVE DEFENSE NO. 14:

Only reasonable force was used, and there is no liability pursuant to Penal Code sections
835 and 835a and Government Code section 815.2. Decedent knew an arrest or detention was
being made by peace officers and had a duty to refrain from using force or his vehicle as a
weapon to resist, and was in violation of Penal Code sections 148, 241, 243, 245 and 834a in
failing to refrain from assaulting, threatening, battering, obstructing and resisting peace officers.

AFFIRMATIVE DEFENSE NO.15:

To the extent force was used in making the arrest or detention, it was privileged as
necessary to effect arrest, to prevent escape, and to overcome resistance.

AFFIRMATIVE DEFENSE NO. 16:

There was reasonable cause to make the detention or arrest. (Gov. Code, § 815.2; Pen.
Code, § 847.)

AFFIRMATIVE DEFENSE NO. 17:

Defendant was a peace officer in the course and scope of employment. At all relevant
times, defendant had reasonable cause to believe that decedent had committed a public offense in
an officer's presence, and so believing, exercised the power, and discharged the duty, of lawful
arrest.

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AFFIRMATIVE DEFENSE NO. 18:

Decedent willingly, voluntarily and knowingly took the risk of inciting a confrontation
with, and being in proximity to a confrontation with, defendant, whom decedent knew was a
peace officer, and thereby assumed each, every and all the risks and hazards implicated by the
events alleged in the complaint. Such conduct is a reasonable implied assumption of the risk.

AFFIRMATIVE DEFENSE NO. 19:

At all relevant times, defendant exercised due care and acted only in the execution or
enforcement of the law.

AFFIRMATIVE DEFENSE NO. 20:

The complaint fails to state a cause of action for violation of civil rights, as any deprivation
of civil rights alleged in the complaint was not without due process of law.

AFFIRMATIVE DEFENSE NO, 21:

_ All acts of defendant were in the proper exercise of police powers without malice or intent
to deprive any person of any right arising under the Constitution or laws of the United States, or
ip injure any person.

AFFIRMATIVE DEFENSE NO. 22:

Defendant is entitled to qualified immunity. Defendant acted in good faith, with due care,
within the scope of discretion, and pursuant to laws, regulations, rules, and practices reasonably
believed to be in accordance with the Constitution and laws of the United States. There is no
liability because Defendant acted in good faith and entertained an honest, and reasonable belief
his actions were in accord with clearly-established law, of which a reasonable person would have
known. (Harlow v. Fitzgerald (1982) 457 U.S. 800, 818.)

AFFIRMATIVE DEFENSE NO. 23: .

There is no liability in that the acts alleged in the complaint, if done at all, were done in the
execution and enforcement of the law while exercising due care. (Gov. Code, §§ 815.2, 820.4.)
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AFFIRMATIVE DEFENSE NO. 24:

Because the complaint is couched in conclusory terms, all affirmative defenses that may be

applicable to the within action cannot be fully anticipated. Accordingly, the right to assert

additional affirmative defenses, if and to the extent that such affirmative defenses are applicable,

is reserved.

WHEREFORE, Defendant prays that:

1. Judgment be rendered in favor of Defendant and against Plaintiffs; and

2. Plaintiffs take nothing by the Complaint; and

3. Defendant be awarded costs of suit incurred herein; and

4. Defendant be awarded such other and further relief as the Court may deem necessary

and proper.

DEMAND FOR JURY TRIAL

Defendant hereby demands a trial by jury. Fed. R. Civ. Proc. 38(b).

Dated: October 2, 2020 Respectfully Submitted,

XAVIER BECERRA

Attorney General of California
JEFFREY R. VINCENT

Supervising Deputy Attorney General

/s/ Daniel B. Alweiss
DANIEL B. ALWEISS
Deputy Attorney General

Attorney for Defendant
CHP Set. Richard Henderson

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